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 7                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 8
 9      UNITED STATES OF AMERICA,

10                                    Plaintiff,                    Case No. CR05-391RSM

11                           v.
                                                                   Minute Order
12      IAN ELTON FUHR,                                            Re: Settlement Conference

13                                   Defendants.

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16              THIS matter was referred by the Honorable Ricardo S. Martinez to U.S.Magistrate Judge, J. Kelley
17 Arnold, for purposes of a settlement conference following a motion by the defendant to withdraw his plea of
18 guilty.
19              Judge Arnold met with the parties and counsel on December 8, 2006 and a tentative resolution was
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     reached which Judge Arnold indicated would be confirmed by January 8, 2007. The parties have continued
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     to engage in discussion with Judge Arnold telephonically. The parties and counsel again met with Judge Arnold
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     on February 12 and the parties reached a final resolution which was confirmed by defendant’s “Motion to
23
     Withdraw Pending Motion to Withdraw Plea of Guilty (Doc#871). Accordingly the matter may be scheduled
24
25 for sentencing.
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27              Entered by Deputy Clerk, /s/Kelly Miller, this 13th day of February 2005.
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     ORDER
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